Case 2:14-cv-06456-GW-E Document 1028 Filed 03/10/22 Page 1 of 20 Page ID #:32861


                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 14-6456-GW(Ex)                                             Date      March 11, 2022
 Title             BASF Corporation, et al. v. APC Investment Co., et al.




 Present: The Honorable           GEORGE H. WU, UNITED STATES DISTRICT JUDGE
                Javier Gonzalez                            None Present
                 Deputy Clerk                        Court Reporter / Recorder                   Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:

                         None Present                                          None Present


 PROCEEDINGS:                 IN CHAMBERS - TENTATIVE RULING ON COMMON ISSUES OF
                              LAW AS TO CERTAIN ELEMENTS OF CERCLA LIABILITY IN
                              REGARDS TO THE MOTIONS FOR PARTIAL SUMMARY
                              JUDGMENT


Attached hereto is the Court’s Tentative Ruling on Common Issues of Law as to Certain Elements of
CERCLA Liability in regards to the Motions for Partial Summary Judgment, set for hearing on March
14, 2022 at 8:30 a.m. Counsel may appear in-person or telephonically by contacting the court clerk at
javier_gonzalez@cacd.uscourts.gov for dial-in information.




                                                                                                   :
                                                               Initials of Preparer   JG
CV-90 (06/04)                                  CIVIL MINUTES - GENERAL                                  Page 1 of 1
Case 2:14-cv-06456-GW-E Document 1028 Filed 03/10/22 Page 2 of 20 Page ID #:32862




  Arconic, Inc. et al v. APC Investment Co. et al; Case No. 2:14-cv-06456-GW-(Ex)
  Tentative Ruling on Common Issues of Law as to Certain Elements of CERCLA Liability in
  regards to the Motions for Partial Summary Judgment


  I.      Background
          This Comprehensive Environmental Response, Compensation, and Liability Act
  (“CERCLA”) and Resource Conservation and Recovery Act (“RCRA”) action arises from the
  activities of the Omega Chemical Corporation (“Omega Chemical”), which operated a refrigerant
  and solvent recycling and treatment facility located in Whittier, California. Omega Chemical
  operated the facility from approximately 1976 to 1991 and, as a result of its operations, the
  surrounding subsurface soil and groundwater were contaminated with high concentrations of
  tetrechloroethene (“PCE”), trichloroethene (“TCE”), and other contaminants. The contamination
  ultimately led the area to be designated by the United States Environmental Protection Agency
  (“EPA”) as the Omega Chemical Corporation Superfund Site (the “Site” or “Omega Site”).
          Plaintiffs1 are companies that allegedly sent chemicals to Omega Chemical for processing
  and recycling and that the EPA contends are responsible under CERCLA for helping to remediate
  the contamination at the Site.2 They filed this lawsuit against the certain defendants, which owned
  or operated businesses near the Site and are potentially responsible parties, seeking contribution
  and a declaratory judgment under Sections 113(f) and 113(g)(2) of CERCLA.
          Before the Court are fully briefed cross-motions for summary judgment. See Moving
  Defendants’ Joint Motion for Summary Judgment3 (“Def. Mot.”), ECF No. 902; Plaintiffs’

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             Plaintiffs are Alcoa Inc; Applied Micro Circuits Corp.; BASF Corporation; Baxter Healthcare Corporation;
  Cal-Tape & Label Co.; California Hydroforming Company, Inc; Cintas Corporation; Columbia Showcase & Cabinet
  Company, Inc.; County of Los Angeles; Crosby & Overton, Inc.; Disney Enterprises, Inc.; Gulfstream Aerospace
  Corporation; Hercules Incorporated; FHL Group; Forenco, Inc.; General Dynamics Corporation; Hexcel Corporation;
  International Paper Company; Los Angeles County Metropolitan Transportation Authority; Merck Sharp & Dohme
  Corporation; Raytheon Company; Masco Corporation of Indiana; Mattel, Inc.; Pilkington Group Limited; Quest
  Diagnostics Clinical Laboratories, Inc.; Safety-Kleen Systems, Inc.; Soco West, Inc.; Sparton Technology, Inc.; The
  Boeing Company; The Dow Chemical Company; The Regents of the University of California; TriMas Corporation;
  Univar USA Inc.; Hercules Incorporated. See Complaint, ECF No. 1.
          2
              Omega Chemical itself declared bankruptcy. See Complaint ¶ 301.
          3
            Defendants are separated into two groups for the purposes of the instant motions: Moving Defendants and
  Opposing Defendants. The Moving Defendants have affirmatively moved for summary judgment and include
  Halliburton Affiliates, LLC; Union Pacific Railroad Company; PMC Specialties Group, Inc.; Ferro Corp.; and the
  Fireman’s Fund Insurance Company and Federal Insurance Company, as Insurers for Palley Supply Company. See
  ECF No. 902. The Opposing Defendants oppose Plaintiffs’ motion for summary judgment and are: Union Pacific
  Railroad Company; Phibro-Tech, Inc.; First Dice Road Company; APC Investment Company; Associated Plating
  Company; Associated Plating Company, Inc.; Clark S. Golnick; Cheryl A. Golnick; Darrell K. Golnick; Gordon E.


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Case 2:14-cv-06456-GW-E Document 1028 Filed 03/10/22 Page 3 of 20 Page ID #:32863




  Opposition to Defendants’ Motion for Summary Judgment (“Pls. Opp.”), ECF No. 948;
  Defendants’ Joint Reply in Support of Motion for Summary Judgment (“Def. Reply”), ECF No.
  958; see also Plaintiffs’ Brief on Common Issues of Law in Support of Motion for Partial Summary
  Judgment (“Pls. Mot. Law”), ECF No. 903-1; Plaintiffs’ Motion for Partial Summary Judgment as
  to Certain Elements of CERCLA Liability (“Pls Mot. Site”), ECF No. 903-2; Opposing
  Defendants’ Joint Opposition on Common Legal Issues to Plaintiffs’ Motion for Partial Summary
  Judgment (“Def. Opp.”), ECF No. 930; Opposing Defendants’ Joint Site-Specific Opposition to
  Plaintiffs’ Motion for Partial Summary Judgment, ECF No. 933; Plaintiffs’ Reply Brief on
  Common Issues of Law in Support of Motion for Partial Summary Judgment (“Pls. Reply Law”),
  ECF No. 972; Plaintiffs’ Reply Brief in Support of Plaintiffs’ Motion for Partial Summary
  Judgment (“Pls. Reply Site”), ECF No. 973.
         Owing to the complexity of factual and legal issues included in this matter and in order to
  provide the Court adequate time to consider the voluminous submissions filed by the parties, the
  Court – after entertaining comments from the parties – issued a modified hearing schedule that
  separated out the issues within the pending summary judgment motions into four different hearing
  dates. See Court’s Ruling on Hearing Schedule, ECF No. 1012. The first hearing, and this order,
  concerns common issues of law and procedural matters that were raised during the briefing for the
  cross-motions for summary judgment. Id. The parties have filed supplemental briefs that focus
  on common legal issues. See Plaintiffs’ Supplemental Brief on Common Issues of Law (“Pls.
  Supp.”), ECF No. 1019; Certain Defendants’ Joint Supplemental Brief on Common Legal Issues
  (“Def. Supp.”), ECF No. 1023. Plaintiff has also filed a supplemental brief in response to the
  raised procedural issues. See Plaintiffs’ Supplemental Brief on Untimely Opposition and Improper
  Sur-Reply (“Pls. Supp. Proc.”), ECF No. 1022.
         A. Procedural Background
         This action is one of several arising from environmental contamination at the Omega
  Chemical Superfund Site located in Whittier and Santa Fe Springs, California. See Fifth Amended
  Complaint (“5AC”) ¶ 2, ECF No. 526. In order to facilitate the cleanup of hazardous substances
  at the site, the EPA has divided the Site into three operable units (“OUs”): OU1, OU2, and OU3.
  See Declaration of Robert P. Doty (“Doty Decl.”), Exh. 30 (“GNL”) at 2, ECF No. 744. OU1



  McCann; and Lyneea R. McCann. See ECF No. 930.



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Case 2:14-cv-06456-GW-E Document 1028 Filed 03/10/22 Page 4 of 20 Page ID #:32864




  includes the Omega Chemical Corporation facility and the immediate vicitnity, also known as the
  “Phase 1A area.” Id. The instant action concerns OU2, which the EPA defined as “contamination
  in groundwater generally downgradient and originating from the former Omega Chemical
  Corporation . . . facility in Whittier, California, much of which has commingled with chemicals
  released at other areas overlaying the OU2 groundwater plume.” See Plaintiffs’ Request for
  Judicial Notice (“PRJN”), Exh. 2 (“2011 OU2 Record of Decision”) at 16, ECF No. 903-4.4
  Several previous actions have resulted in settlements and consent decrees that provide for remedial
  treatments at OU1 and OU2. The Court has extensively summarized the previous actions and
  consent decrees related to the Omega Site in a previous summary judgment order, so they will only
  be briefly discussed here. See Court’s Ruling on Motion for Summary Judgment Re: Statute of
  Limitations (“MSJ Ruling”), ECF No. 809.
           In 2000, in United States v. Abex Aerospace Division, Case No. 00-cv-12471-TJH-(JWJx),
  the United States sued a number of defendants under CERCLA Sections 106 and 107 related to
  the Phase 1a Area or OU1. The action was resolved with a consent decree that provided that the
  settling defendants would install three sentinel groundwater monitoring wells; would design and
  implement a groundwater containment and mass removal treatment system for a portion of the
  affected area; and would implement a Remedial Investigation/Feasibility Study (“RI/FS”) for the
  contamination that resulted from the release of hazardous substances in the immediate vicinity of
  the Omega Site. See Doty Decl., Exh. 13 (“2001 Consent Decree”); PRJN, Exh. 1 (“2010 RI/FS”)
  ¶ 28, ECF No. 903-9.5
           In 2004, in the case of Omega Chemical PRP Group LLC v. Aeroscientific Corp., Case No.
  04-cv-1340-TJH-(JWJx), Omega Chemical PRP Group LLC sued over 200 defendants who were
  allegedly responsible for hazardous substances stored, treated, or disposed of at the Omega Site.
  The plaintiffs sought to recover response costs incurred in connection with the Omega Site,
  specifically OU1, pursuant to CERCLA Sections 107 and 113. The parties reached a settlement


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            The Court took judicial notice of the 2011 OU2 Record of Decision (“ROD”) in a previous order. See
  Court’s Ruling on Motion for Summary Judgment Re: Statute of Limitations at 4 n.8, ECF No. 809. The 2011 OU2
  ROD can be found at ECF No. 770-2.
           5
             For the same reasons that the Court previously took judicial notice of the 2011 OU2 ROD in the MSJ
  Ruling, the Court takes judicial notice of the 2010 RI/FS Report because it is a public record and the contents of the
  report are not subject to reasonable dispute because they “can be accurately and readily determined from sources
  whose accuracy cannot reasonably be questioned.” Khoja v. Orexigen Therapeutics, Inc., 899 F.3d 988, 999 (9th Cir.
  2018).



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Case 2:14-cv-06456-GW-E Document 1028 Filed 03/10/22 Page 5 of 20 Page ID #:32865




  in 2007 that assigned the estimated $101.5 million in cleanup costs to the settling parties based on
  total volume of waste (in tons) attributable to the settling “potentially responsible parties.” See
  MSJ Ruling at 10-13; see also Doty Decl., Exhs. 22-24. The approximated cleanup costs were
  based on estimated costs for extraction and treatment of contaminated groundwater (pump and
  treat) which included wells, water conveyance pipelines, and a treatment plant as components of
  the conceptual remediation system. See Doty Decl., Exh. 19 at 3. The pump and treat system
  would operate for 30 years with soil remediation taking 3 years. Id.
         In 2010, in the case of United States v. Alcoa Inc., Case No. 2:10-cv-05051-TJH-(PLAx),
  the plaintiff United States sued several defendants under CERCLA Section 107 to recover response
  costs in connection with OU1. See generally Case No. 2:10-cv-05051-TJH-PLA, ECF No. 1. The
  United States alleged that it had incurred at least $17 million in unreimbursed response costs in
  responding to the releases or threatened releases of hazardous substances at the former waste
  treatment and storage facility of Omega Chemical Corporation. See id. ¶¶ 6, 11. On October 6,
  2010, the EPA and two groups of settling defendants, who promised to provide either work or
  cash, entered into a consent decree to address the remaining remedial actions required at OU1. See
  generally Doty Decl. Ex. 32. Under the consent decree, the settling defendants: (1) would pay
  $1.5 million towards the EPA’s unrecovered costs; (2) would pay all future response costs not
  inconsistent with the National Contingency Plan (“NCP”), 40 C.F.R. Part 300 et seq.; (3) would
  perform various remedial work as to the Site; and (4) would satisfy various other payment
  obligations. See id. ¶¶ 9-16, 47-50.
         In the 2016 case of United States v. Abex Aerospace, Case No. 2:16-cv-02696-GW-(Ex),
  the United States and the State of California on behalf of the Department of Toxic Substances
  Control (“DTSC”) sued a number of defendants under Sections 106 and 107 of CERCLA and
  Section 7003 of the RCRA for injunctive relief and recovery of costs associated with the release
  and threatened release of hazardous substances at OU2 or which have come to be located at OU2.
  See Case No. 2:16-cv-02696-GW-(Ex) ¶ 1, ECF No. 1. The United States alleged it incurred at
  least $20 million in unreimbursed response costs in responding to hazardous substances or
  threatened hazardous substances at or in route to OU2, while DTSC alleged it incurred at least
  $70,000 on response costs. See id. ¶ 18. Those response costs allegedly provided for remedial
  investigation, oversight of work by certain of the Abex defendants, community relations activities,
  and preparation of feasibility studies and decision documents. See id. In 2017, the parties reached



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Case 2:14-cv-06456-GW-E Document 1028 Filed 03/10/22 Page 6 of 20 Page ID #:32866




  a settlement and the Court entered a consent decree that required the settling defendants to make
  cash payments to the United States and the DTSC in the amount of $8 million and $70,000 for past
  response costs, respectively. See PRJN, Exh. 5 (“Corrected Consent Decree”) ¶ 28, ECF No. 903-
  9.6 Additionally, the settling defendants agreed to pay all future response costs incurred by the
  EPA and DTSC in overseeing the response actions covered by the consent decree, as well as a
  performance guarantee of $70 million, which is the estimated cost of the remedial work. See id.
  ¶¶ 21, 29. The remedial work included groundwater extraction and treatment in the several
  extraction areas of the OU2 plume and investigations to assist the EPA in determining the
  appropriate remainder of the response efforts. See id ¶¶ O-P. In exchange for entering into the
  2017 consent decree, the United States and DTSC covenanted not to sue or take administrative
  action against all settling defendants under CERCLA §§ 106 and 107, as well as RCRA § 7003
  and parallel state provisions, for past OU2 response costs and the remedial work described in the
  consent decree. See id. ¶¶ 59-60.
           In the instant action, Plaintiffs first filed a complaint seeking cost recovery under CERCLA
  § 107. After the 2017 consent decree discussed above, however, Plaintiff filed their Fifth Amended
  Complaint on November 1, 2016, including a CERCLA § 113(f) contribution claim as well as an
  RCRA § 7002 claim and a claim for declaratory relief as to liability under CERCLA § 113(f) for
  contribution. See 5AC ¶¶ 396-426. Plaintiffs allege that each named Defendant is associated with
  a property that is a source of OU2 groundwater contamination. Plaintiffs seek reimbursement for
  costs Plaintiffs have incurred, or will incur, under the 2017 OU2 consent decree. See id. ¶¶ 10-11.
  The parties agreed to split the litigation into two phases. See April 21, 2017 Parties’ Joint Status
  Conference Report, ECF No. 600; Parties’ Supplemental Joint Status Conference Report, ECF No.
  602; May 22, 2017 Parties’ Joint Status Conference Report (“Status Report”), ECF No. 615. In
  the first phase of litigation, the parties agreed to focus on statute of limitations and three of the
  four elements of liability under CERCLA Section 113 – i.e., (1) whether the site containing the
  hazardous substance is a facility under CERCLA; (2) whether a release or threatened release of a


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              Plaintiffs request judicial notice of the Corrected Consent Decree, a public document from the docket of
  the Court’s 2016 action, United States v. Abex Aerospace, Case No. 2:16-cv-02696-GW-(Ex). See PRJN, Exh. 6.
  Under Fed. R. Evid. 201(b), a court may take judicial notice of adjudicative facts that are not subject to reasonable
  dispute because they are generally known or “can be accurately and readily determined from sources whose accuracy
  cannot reasonably be questioned.” Khoja, 899 F.3d at 999. Accordingly, a court may take judicial notice of public
  records such as transcripts, orders, and reports from the underlying actions. The Court thus grants Plaintiffs’ request
  for judicial notice.



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Case 2:14-cv-06456-GW-E Document 1028 Filed 03/10/22 Page 7 of 20 Page ID #:32867




  hazardous substances had occurred at or from the facility; and (3) whether the defendant falls
  within one of the categories subject to the liability provisions of CERCLA § 107(a). See Status
  Report at 1. The parties indicated that they would not litigate in the initial phase: (1) “[whether]
  Plaintiffs incurred response costs as a result of a release or threatened release and those costs were
  necessary and consistent with the national contingency plan;” and (2) “1) allocation; 2) liability of
  cross-defendants on Defendants’ cross-claims; 3) Plaintiffs’ liability (assuming a mutually
  accepted stipulation is entered on same); and 4) response costs, including the above response cost
  element (collectively ‘Deferred Issues’).”7 Id.
           However, the Status Report contained one major area of dispute as delineated in footnote
  2:
           Plaintiffs’ Position: While the Parties agree that the response cost element of
           CERCLA liability set out above, should be deferred to a later phase, the Parties
           disagree as to what that means concerning the issues that will be litigated during
           this current phase. For example, the Parties disagree about when to litigate the issue
           of whether hazardous substance releases from Defendants’ respective source
           properties have contaminated regional groundwater in impacted OU2. Plaintiffs
           contend that this issue should be litigated during the current phase. Also, Plaintiffs
           understand that Defendants contend that Plaintiffs, as part of establishing the
           response cost element of CERCLA liability, must establish a connection between
           Plaintiffs’ response costs and the releases at each Defendant’s source property.
           Plaintiffs’ contend, however, that they have no such obligation, as a matter of law,
           under the response cost element, or any other element, of CERCLA liability.
           Defendants’ Position: The issue of whether hazardous substances from any given
           Defendant’s facility have been released to OU2, is an issue that may or may not be
           appropriate for discovery for any given Defendant and any dispute should be
           resolved based on the specific request and circumstances of each Defendant. The
           Parties have agreed only to litigate certain elements of liability and the statute of
           limitations defense. As to Plaintiffs’ burden in proving the response cost element,
           Defendants have not taken a uniform position regarding Plaintiffs’ burden because
           this issue is to be litigated in a later phase. Some Defendants do disagree. In any
           event, this is an issue upon which the parties can meet and confer, or litigate, after
           this phase when we litigate the response cost element.
  See ECF No. 615 at 3 of 28.
           Plaintiffs and the Moving Defendants have filed cross-motions for summary judgment.
  The Moving Defendants consist of entities affiliated with the PMC Property, the Chrysler Property,

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            In the Status Report, the parties agreed that the first phase would not include “prima facie liability under
  CERCLA section 113.” See Status Report at 2. Defendants already sought summary judgment as to the CERCLA §
  113(f) contribution claim and the claim for declaratory relief on statute of limitation grounds, but the Court denied the
  motion. See generally MSJ Ruling.



                                                                  6
Case 2:14-cv-06456-GW-E Document 1028 Filed 03/10/22 Page 8 of 20 Page ID #:32868




  and the Patsouras Property. Defendants PMC Specialties Group, Inc. and Ferro Corporation are
  affiliated with the PMC Property and seek summary judgment on the grounds that Plaintiffs cannot
  demonstrate a plausible pathway or causal connection between the hazardous substances released
  on the PMC Property and the OU2 Plume. See Def. Mot. at 12-30. Defendant Union Pacific
  Railroad Company is affiliated with the Chrysler Property and seeks summary judgment asserting
  that Defendant Union Pacific is not one of the categories subject to the liability provisions of
  CERCLA § 107(a). See id. at 32-51. Defendants Halliburton Affiliates, LLC; Kekropia, Inc.; and
  Interveners Fireman’s Fund Insurance Company and Federal Insurance Company, as Insurers for
  Palley Supply Company are affiliated with the Patsouras Property and seek summary judgment
  again on grounds of failure to demonstrate causation through a plausible migration pathway. See
  id. at 54-65.
          Plaintiffs seek summary judgment against the entities affiliated with the Associated Plating
  Property, the Earl Manufacturing Property, the Phibro-Tech Property, the Chrysler Property, and
  the Patsouras Property. Plaintiffs move for summary judgment against Defendants Phibro-Tech,
  Inc.; First Dice Road Co.; and Union Pacific Railroad Co., who are affiliated with the Phibro-Tech
  Property, because the Phibro-Tech Property constitutes a CERCLA facility; each Defendant falls
  within one of four classes of “persons” subject to liability provisions of Section 107(a); and there
  has been a release or threatened release of hazardous substances from the Phibro-Tech Property
  into the OU2 Plume. See Pls. Mot. Site at 23-31. Plaintiffs make similar arguments against
  Defendant Earl Manufacturing and Defendant Claudette Earl who are affiliated with the Earl
  Manufacturing Property, see id. at 38-44; against Defendant Union Pacific Railroad Company and
  Defendant First Dice Road Company who are affiliated with the Phibro-Tech Property, see id. at
  54-67; and against Defendant Union Pacific Railroad Company and Defendant Palmtree
  Acquisition Corp. who are affiliated with the Chrysler Property, see id. at 82-88.
           Plaintiffs have separated their briefing into one that focuses solely with common legal
  issues and another that deals with the specific properties. See generally Pls. Mot. Law; Pls. Mot.
  Site. Defendants also include a section on common facts and issues of law, see Def. Mot. at 2-10,
  before devoting the remainder of their brief to the specific properties. As stated previously, this
  order will focus on the common legal issues raised by the parties.
          B. Factual Background
          Plaintiffs, or their predecessors, affiliated entities, assignees or obligees, are companies



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Case 2:14-cv-06456-GW-E Document 1028 Filed 03/10/22 Page 9 of 20 Page ID #:32869




  that sent chemicals to the Omega Chemical for appropriate processing and recycling. See
  Defendants’ Joint Response to Plaintiffs’ Statement of Genuine Disputes (“DSUF”) ¶ 1, ECF No.
  959. The EPA contends that Omega Chemical failed to process, recycle, or dispose of those
  chemicals properly during its time of operation, from 1976 to 1991, causing ground water
  contamination.   Id.   The EPA has designated groundwater contamination from hazardous
  substances at the Omega Chemical Corporation Superfund Site as “Operable Unit No. 2” (“OU2”
  or the “OU2 Site” or the “OU2 Facility”). See id; Plaintiffs’ Reply to Opposing Parties’ Response
  to Statement of Uncontroverted Facts (“PSUF”) ¶ 1, ECF No. 974. More specifically, the EPA in
  a 2011 Record of Decision defines OU2 as the “contamination in groundwater generally
  downgradient and originating from the former Omega Chemical Corporation . . . facility in
  Whittier, California, much of which has commingled with chemicals released at other areas
  overlaying the OU2 groundwater plume.” DSUF ¶ 2. The EPA describes OU2 groundwater
  contamination as a “continuous plume that is approximately four and a half miles long and one
  and a half miles wide.” Id.
         The EPA asserts that Plaintiffs are responsible for remediating the OU2 groundwater
  contamination and EPA’s environmental contractor found that Omega Chemical was the main
  source of groundwater contamination at OU2. DSUF ¶ 3. The EPA has been investigating the
  OU2 Site for more than a decade and found that “because [the plume] flows under a densely
  developed commercial-industrial area, there are additional facilities whose releases of hazardous
  substances have reached groundwater and become commingled with the Omega contamination.”
  DSUF ¶ 4. The EPA evaluated many facilities in connection with the OU2 Facility and declared
  some of them “potentially responsible parties” (“PRPs”). Some PRPs received Special Notice
  Letters (“SNLs”) from the EPA if they were determined to be potentially liable under CERCLA
  Section 107 for the OU2 groundwater contamination and for past and future costs to clean up that
  contamination. 5AC ¶ 4. The SNLs also provided information supporting those conclusions and
  solicited offers from the SNL Defendants to take remedial action and design remedial action as to
  OU2. See id. The EPA issued General Notice Letters (“GNLs”) to other PRPs that were
  potentially liable for cleanup costs at the Omega Superfund Site, inviting the GNL recipients to
  explain why they should not receive an SNL. See id. ¶ 5. Some Defendants have received SNLs,
  some GNLs, and some no letters at all. Id. ¶ 68.
         Defendants are PRPs that were affiliated at some point with several properties that could



                                                     8
Case 2:14-cv-06456-GW-E Document 1028 Filed 03/10/22 Page 10 of 20 Page ID #:32870




   have contributed to the OU2 groundwater plume originating from the former Omega Chemical
   Corporation.




   See Def. Supp., Exh. 1.8
           The Opposing Defendants are entities that were involved with the Associated Plating
   Property, the Earl Manufacturing Property, the Phibro-Tech (“PTI”) Property, the Chrysler
   Property, and the Patsouras Property. See generally Def. Opp. The Moving Defendants are entities
   that were at once involved with the PMC Property, the Chrysler Property, and the Patsouras
   Property. See generally Def. Mot.
   II.     Legal Standard
           A. Rule 56


            8
              Defendants’ demonstrative map largely aligns with the maps provided by Plaintiffs in their supplemental
   brief. Compare Def. Supp., Exh. 1, with Pls. Supp. at 1 n.2, 9-10.



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Case 2:14-cv-06456-GW-E Document 1028 Filed 03/10/22 Page 11 of 20 Page ID #:32871




             Summary judgment shall be granted when a movant “shows that there is no genuine issue
   as to any material fact and that the movant is entitled to judgment as a matter of law.” Fed. R. Civ.
   P. 56(a). The moving party bears the initial burden of establishing the absence of a genuine issue
   of material fact. See Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). “When the party moving
   for summary judgment would bear the burden of proof at trial, it must come forward with evidence
   which would entitle it to a directed verdict if the evidence went uncontroverted at trial. In such a
   case, the moving party has the initial burden of establishing the absence of a genuine issue of fact
   on each issue material to its case.” C.A.R. Transp. Brokerage Co. v. Darden Rests., Inc., 213 F.3d
   474, 480 (9th Cir. 2000) (internal quotation marks and citations omitted). However, when the
   nonmoving party bears the burden of proving the claim or defense, the moving party does not need
   to produce any evidence or prove the absence of a genuine issue of material fact. See Celotex, 477
   U.S. at 325. Rather, the moving party’s initial burden “may be discharged by ‘showing’ – that is,
   pointing out to the district court – that there is an absence of evidence to support the nonmoving
   party’s case.” Id.
             Once the moving party meets its initial burden, the “party asserting that a fact cannot be or
   is genuinely disputed must support the assertion.” Fed. R. Civ. P. 56(c)(1). “The mere existence
   of a scintilla of evidence in support of the [nonmoving party]’s position will be insufficient; there
   must be evidence on which the jury could reasonably find for the [nonmoving party].” Anderson
   v. Liberty Lobby, Inc., 477 U.S. 242, 252 (1986). Further, “[o]nly disputes over facts that might
   affect the outcome of the suit . . . will properly preclude the entry of summary judgment. Factual
   disputes that are irrelevant or unnecessary will not be counted.” Liberty Lobby, 477 U.S. at 248.
   At the summary judgment stage, a court does not make credibility determinations or weigh
   conflicting evidence. See id. at 249. A court must draw all inferences in a light most favorable to
   the nonmoving party. Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587
   (1986).
             B. CERCLA Liability
             The Ninth Circuit provided helpful statutory context of CERCLA in Asarco LLC v. Atl.
   Richfield Co., 866 F.3d 1108 (9th Cir. 2017), stating as follows:
                      Congress enacted CERCLA in 1980 with two goals in mind: (i) to
             encourage the “‘expeditious and efficient cleanup of hazardous waste sites,’” and
             (ii) to ensure that those responsible for hazardous waste contamination pay for the
             cleanup. Carson Harbor Vill., Ltd. v. Unocal Corp., 270 F.3d 863, 880 (9th Cir.
             2001) (en banc) (quoting Pritikin v. Dep’t of Energy, 254 F.3d 791, 795 (9th Cir.


                                                          10
Case 2:14-cv-06456-GW-E Document 1028 Filed 03/10/22 Page 12 of 20 Page ID #:32872




         2001)); see S. Rep. No. 96–848, at 13 (1980). Hazardous waste sites—also known
         as Superfund sites—contain toxic substances often deposited by multiple entities.
         See 42 U.S.C. § 9607(a)(1)-(4). In order to spread responsibility among those
         entities, Congress included a provision in CERCLA providing for reimbursement
         of costs incurred by the government or a liable PRP. Section 107(a) provides a
         cause of action for a “cost recovery” claim against PRPs for a wide range of
         expenses, including “‘any . . . necessary costs of response incurred’” that result
         from a release of a hazardous substance. Whittaker Corp. v. United States, 825
         F.3d 1002, 1006 (9th Cir. 2016) (quoting 42 U.S.C. § 9607(a)).
                  “Response” is a term of art under CERCLA and means “remove, removal,
         remedy, and remedial action.” 42 U.S.C. § 9601(25). Congress even gave those
         defining terms their own definitions. A “removal” means, inter alia, “the cleanup
         or removal of released hazardous substances from the environment” and any actions
         that may be necessary “in the event of the threat of release of hazardous substances
         into the environment.” Id. § 9601(23). A “remedial action” means, inter alia,
         “actions consistent with permanent remedy taken instead of or in addition to
         removal actions . . . to prevent or minimize the release of hazardous substances so
         that they do not migrate to cause substantial danger to present or future public
         health or welfare or the environment.” Id. § 9601(24). Put simply, a “response
         action” covers a broad array of cleanup activities.
                  Section 107(a) is limited to recovery of response costs the suing PRP itself
         directly incurred. See Atl. Research, 551 U.S. at 139, 127 S.Ct. 2331 (“[Section]
         107(a) permits recovery of cleanup costs but does not create a right to
         contribution.”). At the time of enactment, CERCLA included no express right to
         contribution for a PRP that did not itself incur response costs, but that reimbursed
         another party that did incur response costs. See Cooper Indus., Inc. v. Aviall Servs.,
         Inc., 543 U.S. 157, 162, 125 S.Ct. 577, 160 L.Ed.2d 548 (2004). Such a situation
         arises under two circumstances: (i) where the PRP is the defendant in a CERCLA
         § 106 or § 107(a) action and a money judgment issues against it; or, as with the
         CERCLA Decree in the matter before us, (ii) where the PRP pays the United States’
         or a State’s response costs pursuant to a settlement agreement. See id. at 160–61,
         125 S.Ct. 577; Atl. Research, 551 U.S. at 138–39, 127 S.Ct. 2331; Whittaker, 825
         F.3d at 1006–07.
                  Congress added an express right to contribution with the Superfund
         Amendments and Reauthorization Act of 1986 (“1986 CERCLA Amendments”),
         Pub. L. No. 99-499, to address these two circumstances. See Atl. Research, 551
         U.S. at 132, 127 S.Ct. 2331. Section 113(f)(1) captures the first, and provides that
         “[a]ny person may seek contribution from any other person who is liable or
         potentially liable under [§ 107(a)] of this title, during or following any civil action
         . . . under [§ 106 or § 107(a)] of this title.” 42 U.S.C. § 9613(f)(1) . . . . Section
         113(f)(3)(B), which is directly at issue [in Atl. Richfield], captures the second
         scenario, and provides that:
                        [a] person who has resolved its liability to the United States
                or a State for some or all of a response action or for some or all of
                the costs of such action in an administrative or judicially approved
                settlement may seek contribution from any person who is not party


                                                       11
Case 2:14-cv-06456-GW-E Document 1028 Filed 03/10/22 Page 13 of 20 Page ID #:32873




                  to a settlement [that immunizes such person from a contribution
                  action].
          Id. § 9613(f)(3)(B). In other words, “a PRP that pays money to satisfy a settlement
          agreement or a court judgment may pursue § 113(f) contribution.” Atl. Research,
          551 U.S. at 139, 127 S.Ct. 2331; see Cooper, 543 U.S. at 163, 167, 125 S.Ct. 577
          (recognizing that § 113(f)(1) and § 113(f)(3)(B) set forth separate rights of
          contribution).
   866 F.3d at 1115-1117 (internal footnotes omitted).
          Plaintiff originally included Section 107(a) cost recovery claims but has now substituted
   them with Section 113(f) contribution claims. To establish a prima facie case of CERCLA
   liability, for cost recovery under Section 107(a) or contribution under Section 113(f), the Plaintiff
   must establish that: (1) “the site on which the hazardous substances are contained is a ‘facility’
   under CERCLA’s definition of that term;” (2) “a ‘release’ or ‘threatened release’ of any ‘hazardous
   substance’ from the facility occurred”; (3) “such ‘release’ or ‘threatened release’ has caused the
   plaintiff to incur response costs that were ‘necessary’ and ‘consistent’ with the national
   contingency plan;” and (4) “the defendant is within one of four classes of persons subject to the
   liability provisions of Section 107(a).” Carson Harbor Vill., Ltd. v. Unocal Corp., 270 F.3d at
   870-71 (9th Cir. 2001); Kalamazoo River Study Grp. v. Rockwell Int’l Corp., 171 F.3d 1065, 1068
   (6th Cir. 1999); Castaic Lake Water Agency v. Whittaker Corp., 272 F. Supp. 2d 1053, 1059 (C.D.
   Cal. 2003).
   III.   Discussion
          A. Tardy Filing
          This order is focused on common legal issues and specific procedural problems that arose
   during briefing. The Court begins with the outstanding procedural issues. Defendants previously
   objected to Plaintiffs’ tardiness in filing their Opposition and asked the Court to disregard it. See
   generally Moving Defendants’ Objections to and Request to Disregard Plaintiffs’ Untimely
   Opposition, ECF No. 951. Defendants also objected to the Plaintiffs’ filing an improper sur-reply,
   accusing Plaintiffs of using the additional two weeks they were provided to respond to arguments
   in Defendants’ Reply. See Moving Defendants’ Objection to Plaintiffs’ Improper Sur-Reply, ECF
   No. 982. In response, Plaintiffs filed a supplemental brief urging the Court that only a portion of
   the Opposition was arguably late and that disregarding the Opposition would be excessively harsh
   and punitive. See Pls. Supp. Proc. at 1-2. Plaintiffs further assert that they did not improperly
   respond to arguments made in Defendants’ Reply brief and there is no prejudice because the Court


                                                        12
Case 2:14-cv-06456-GW-E Document 1028 Filed 03/10/22 Page 14 of 20 Page ID #:32874




   has required supplemental briefing. See id. at 3-4.
           The Court agrees with Plaintiffs on both procedural issues. With respect to the Opposition,
   Defendants suffered no prejudice because the evidentiary support for the Opposition memo was
   filed 66 minutes late. The Court notes that the submissions in this action have had voluminous
   attachments, and Plaintiffs’ Opposition had 81 supporting documents. See Declaration of Laura
   A. Brayton (“Brayton Decl.”) ¶¶ 2-4, ECF No. 1022-1. Plaintiffs likely erred by not starting their
   filing process earlier to account for the number of attachments; but to disregard the Plaintiffs’
   entire Opposition, as Defendants suggest, is excessive and punitive. Defendants offer no authority
   supporting their requested relief. Further, the Court is engaged with the parties to properly resolve
   difficult issues of fact and law under a complex, statutory scheme related to the ongoing remedial
   efforts at the Omega Site and OU2. Disregarding the Plaintiffs’ entire Opposition would only
   hamper the Court’s efforts to fairly resolve the remaining issues.
           With respect to the sur-reply, the Court again agrees with Plaintiffs. Even if Plaintiffs filed
   an improper sur-reply (and it does not seem that they did), the Court has now broken down the
   hearing for the cross-motions for summary judgment into more digestible portions and allowed
   the parties to provide supplemental briefing for each hearing. Defendants thus now have an
   opportunity to reply to anything that was allegedly improperly addressed in the sur-reply. The
   Court, however, will allow Defendants additional pages for their supplemental briefings if they
   desire it.
           Turning to the common legal issues, the Court will address the following: (1) what issues
   the parties must focus on during this phase of the litigation; (2) what legal standard must be used
   when determining causation under CERCLA in phase two; and (3) what is required to prove a
   Defendant is “covered person” under CERCLA.
           B. Phases of Litigation
           In their Opposition and supplemental briefing, the Opposing Defendants assert that
   Plaintiffs are improperly trying to address Deferred Elements in the first phase of litigation by
   attempting to establish that contaminant releases from each of Defendants’ properties have
   commingled with the OU2 Site. See Def. Opp. at 3; Def. Supp. at 2-3. The Moving Defendants
   and Plaintiffs do not squarely address the point, but both parties devoted sections of their brief to
   argue whether the CERCLA causation standard requires commingling of hazardous substances
   released from two contamination sites; or simply a plausible migration pathway between the two



                                                         13
Case 2:14-cv-06456-GW-E Document 1028 Filed 03/10/22 Page 15 of 20 Page ID #:32875




   contamination sites; or an actual release of contaminants at one site that caused the contamination
   on the second site. See Def. Mot. at 6-10; Pls. Opp. at 4-10.
           Earlier in the action, the parties had agreed to split the litigation into two phases. See Status
   Report at 1-2. In the first phase of litigation, the parties would discuss three of the four elements
   of liability under CERCLA Section 113: (1) whether each Defendant’s property is a facility; (2)
   whether each Defendant falls within one of the four classes of “persons” subject to liability under
   CERCLA; and (3) whether a release or threatened release of a hazardous substance had occurred
   at or from the facility. See id. The second half of litigation would be reserved for the Deferred
   Elements, which includes issues such as allocation, liability of cross-Defendants, and the final
   remaining element of CERCLA liability: (4) whether Plaintiffs incurred response costs as a result
   of a release or threatened release and those costs were necessary and consistent with the NCP. Id.
   The parties, however, never resolved whether Plaintiffs must establish, at the first phase, whether
   the release or threatened release of hazardous substances from Defendants’ source properties have
   contaminated the regional groundwater in the impacted OU2. Id. at 2-3 n.2; see page 6, supra.
   Plaintiff’s position was that the issue should be litigated in the first phase, while many Defendants
   thought the issue should be reserved for the second phase, although the Defendants did not adopt
   a uniform position on the issue. Id.
           Based on the earlier agreement between the parties, the Court must agree with Defendants
   that Plaintiffs are improperly trying to address the deferred element of causation that was reserved
   for the second phase of litigation. In this phase of litigation, the parties agreed to only address: (1)
   whether each Defendant’s property is a facility; (2) whether each Defendant falls within one of the
   four classes of “persons” subject to liability under CERCLA; and (3) whether a release or
   threatened release of a hazardous substance had occurred at or from the facility. Id. at 1-2. The
   Court does not view the third element, whether a release or threatened release of a hazardous
   substance had occurred at or from the facility, as sufficiently relating to causation. See e.g.,
   Castaic Lake Water, 272 F. Supp. 2d at 1063 (C.D. Cal. 2003) (defining release under the third
   element and reserving the discussion on causation for the fourth element); Kalamazoo River Study
   Grp. v. Rockwell Int’l, 3 F. Supp. 2d 815, 818 (W.D. Mich. 1997), aff’d sub nom. Kalamazoo River
   Study Grp. v. Rockwell Int’l Corp., 171 F.3d 1065 (6th Cir. 1999) (discussing causation under
   response costs); City of Moses Lake v. United States, 458 F. Supp. 2d 1198, 1235 (E.D. Wash.
   2006) (analyzing whether a release or threatened release occurred at the facility then addressing



                                                          14
Case 2:14-cv-06456-GW-E Document 1028 Filed 03/10/22 Page 16 of 20 Page ID #:32876




   causation of response costs as a separate element). The third element simply asks whether there
   was a release or threatened release of a hazardous substance from the Defendant’s facility.
   Whether the release or threatened release caused response costs and whether those response costs
   are consistent with the NCP are issues reserved for the final element of CERCLA liability and for
   the second phase of litigation.
          Here, to show that there was a release at the facility, Plaintiffs need only provide evidence
   that a hazardous substance was spilled, leaked, pumped, poured, emitted, emptied, discharged,
   injected or disposed into the environment, or that it escaped or leached into the environment. See
   42 U.S.C. § 9601(22) (defining “release”); Castaic Lake, 272 F. Supp. 2d at 1063. And while a
   “threatened release” is not defined by the statute, courts have found threatened releases to include
   ownership of corroding and deteriorating tanks, a lack of expertise in handling hazardous wastes,
   or even the failure to license the facility. See Dedham Water Co. v. Cumberland Farms Dairy,
   Inc., 889 F.2d 1146, 1152 (1st Cir. 1989); Amland Properties Corp. v. Aluminum Co. of Am., 711
   F. Supp. 784, 793 (D.N.J. 1989) (finding evidence that the PCBs in the concrete flooring of the
   plant have migrated further into the core of the concrete as evidence of threatened release).
   Whether that release or threatened release occurred is for the first phase. Whether that release or
   threatened release then caused response costs must be reserved for the second phase of litigation,
   as was agreed by the parties.
          In sum, in order to obtain partial summary judgment over the issues litigated in the first
   phase of this action, the parties must simply follow the plan they agreed to. In the first phase, the
   parties must prove or disprove: (1) whether each of Defendant’s property is a facility; (2) whether
   each Defendant falls within one of the four classes of “persons” subject to liability under
   CERCLA; and (3) whether a release or threatened release of a hazardous substance had occurred
   at or from the facility. See Status Report at 1-2. The parties agreed to hold the remaining element,
   whether Plaintiffs incurred response costs as a result of a release or threatened release and whether
   those costs were necessary and consistent with the NCP, for the second phase. Id. As certain
   Defendants have steadfastly objected to dealing with causation in the first phase of litigation, see
   Status Report at 2-3 n.2; Def. Opp. at 3; Def. Reply at 10-12; Def. Supp. at 2-3, the Court must
   hold the parties to their earlier agreement.
          C. Legal Standard for Causation
          While the issue of whether a release or threatened release caused Plaintiffs to incur



                                                        15
Case 2:14-cv-06456-GW-E Document 1028 Filed 03/10/22 Page 17 of 20 Page ID #:32877




   response costs is reserved for the second phase, the parties already extensively briefed the issue of
   what legal standard to use for the CERCLA causation analysis. See Def. Mot. at 6-10; Pls. Mot.
   Law at 9-15. Both parties then devoted the majority of their supplemental briefs to addressing the
   legal standard to be used for causation. See generally Def. Supp.; Pls. Supp. The Court elects to
   discuss the issue of what legal standard governs causation now in order to give the parties more
   direction heading into the next stages of discovery. To be crystal clear, the parties should not
   discuss causation in the upcoming hearings for the specific source properties in this phase; the
   legal standard delineated below will only be applied in the second phase.
              Plaintiffs’ position as to the appropriate standard for causation has shifted over time. In
   their opening brief, Plaintiffs conceded that this action was a “two-site” CERCLA action and
   identified the correct causation requirement as the burden-shifting framework from Castaic Lake
   Water, 272 F. Supp. 2d at 1066. See Pls. Mot. Law at 10-13. Plaintiffs, however, now assert in
   their supplemental brief that the OU2 is a single, widespread area of groundwater contamination.
   See Pls. Supp. at 1-7. Defendants have always asserted that this is a two-site, or multi-site,
   CERCLA action and have steadfastly argued for the more stringent and traditional causation
   standard from Kalamazoo River, 171 F.3d 1065 (6th Cir. 1999), that requires an actual release
   from a Defendant’s property to commingle with the OU2 Plume. See Def. Mot. at 8-10; Def. Supp.
   at 4-6.
             To start, the Court rejects Plaintiffs’ eleventh-hour attempt to frame the action as a single-
   site CERCLA action. In a single-site or one-site CERCLA action, “the site of the release or
   threatened release of a hazardous substance and the site where the Government has incurred
   cleanup costs are one and the same.” See Asarco LLC v. Cemex, Inc., 21 F. Supp. 3d 784, 803
   (W.D. Tex. 2014). In contrast, in a two-site or multi-site CERCLA action, the “release or
   threatened release of hazardous substances occur at one site, and the Government incurs response
   costs as another.” Id.; see also Castaic Lake Water, 272 F. Supp. 2d at 1064-65 (defining a two-
   site CERCLA case as one where a “contaminant at one location . . . has migrated to reach a
   different location”); Kalamazoo River, 171 F.3d at 1068 (“In a ‘two-site’ case such as this, where
   hazardous substances are released at one site and allegedly travel to a second site, . . .”). Here, the
   principal release or threatened release of hazardous chemicals occurred at the location of the
   Omega Chemical Corporation. OU2 is only one of the Operable Units in the Omega Chemical
   Superfund Site created to maintain the contamination of hazardous chemicals caused by the



                                                          16
Case 2:14-cv-06456-GW-E Document 1028 Filed 03/10/22 Page 18 of 20 Page ID #:32878




   activites of the Omega Chemical Corporation. OU2 is defined as the contamination in the
   groundwater generally downgradient and originating from the former Omega Chemical
   Corporation, including under each of the Defendants’ Source Properties. As the contamination of
   hazardous chemicals originated at the Omega Chemical Site and the response costs will be incurred
   at locations separate from the Omega Chemical Site at Defendants’ properties in the OU2 Site,
   this is a multis-site CERCLA action.
           Turning to the appropriate legal standard to use in this multi-site CERCLA action, the
   Court is inclined to follow the burden-shifting framework advanced in Castaic Lake, 272 F. Supp.
   2d at 1065. The burden-shifting framework from Castaic Lake states that the plaintiff “meets its
   burden on summary judgment if it (a) identifies contaminant at its site, (b) identifies the same (or
   perhaps a chemically similar) contaminant at the defendant’s site, and (c) provides evidence of a
   plausible migration pathway by which the contaminant could have traveled from the defendant’s
   facility to the plaintiff’s site. If the plaintiff meets this burden, the defendant must then proffer
   evidence sufficient to create a genuine issue of fact as to its ability to disprove causation.” Id.
   (emphasis in original). The Court will apply the burden-shifting framework from Castaic Lake
   over the stricter causation standard advanced by the Sixth Circuit in Kalamazoo River because the
   burden-shifting framework has seen widespread adoption by district courts in this circuit over the
   previous twenty years. See e.g., Tesoro Refining and Mktg Co. LLC v. City of Long Beach, 2:16-
   cv-06963-VAP-(FFMx), 2018 WL 11348067, at *3-4 (C.D. Cal. Nov. 21, 2018); California City
   of Moses Lake v. United States, 458 F. Supp. 2d 1198, 1237-38 (E.D. Wash. 2006) (applying the
   burden-shifting framework for causation); Walnut Creek Manor, LLC v. Mayhew Ctr., LLC, 622
   F. Supp. 2d 918, 927-28 (N.D. Cal. 2009) (same); Ameripride Servs., Inc. v. Valley Indus. Servs.,
   Inc., No. 2:00-CV-113-MCE-EFB, 2016 WL 3753267, at *5 (E.D. Cal. July 13, 2016) (same); see
   also Pls. Supp. at 7. In contrast, Defendants have yet to cite any cases where district courts in our
   circuit have adopted the more stringent causation standard from Kalamazoo River, 171 F.3d 1065
   (6th Cir. 1999).9 See Def. Supp. at 4-6.


           9
             As observed in Roosevelt Irr. Dist. v. Salt River Project Agr. Imp. and Power Dist., 39 F.Supp.3d 1059,
   1073-74 (D. Ariz. 2014):
           [A]s discussed in United States v. Washington State Department of Transportation, the causation
           standard espoused in Kalamazoo is perhaps inconsistent with the “minimum casual nexus” most
           courts require under CERCLA; rather, the court in Washington expressed support for the causation
           approach set forth in Castaic Lake as more consistent with the CERCLA objectives. See United
           States v. Wash. State Dept. of Transp., No. 08–5722RJB, 2010 WL 4723718, at *3 (W.D.Wash.


                                                              17
Case 2:14-cv-06456-GW-E Document 1028 Filed 03/10/22 Page 19 of 20 Page ID #:32879




          In addition, the Court agrees with the district court’s analysis in Castaic Lake and would
   find that the burden-shifting framework “is in keeping with CERCLA’s broad remedial purpose”
   and the “minimal causal nexus” usually reserved for CERCLA, making a stricter causation
   standard “unpersuasive.” See Castaic Lake, 272 F. Supp. 2d at 1066 n.15. The Court takes heed
   that Plaintiffs in this matter were not necessarily bad actors, but simply erred in relying on the
   Omega Chemical for processing and recycling their hazardous substances. The Plaintiffs in this
   action were also burdened with providing remedial actions based on a minimal causal nexus, so
   the Court views the burden-shifting framework appropriate for the unique circumstances of a
   multi-site CERCLA action.
          In conclusion, in the second phase of litigation, the Court will apply the burden-shifting
   framework from Castaic Lake to determine causation: a plaintiff “meets its burden on summary
   judgment if it (a) identifies contaminant at its site, (b) identifies the same (or perhaps a chemically
   similar) contaminant at the defendant’s site, and (c) provides evidence of a plausible migration
   pathway by which the contaminant could have traveled from the defendant’s facility to the
   plaintiff’s site. If the plaintiff meets this burden, the defendant must then proffer evidence
   sufficient to create a genuine issue of fact as to its ability to disprove causation.” Castaic Lake,
   272 F. Supp. 2d at 1065. This causation standard will be employed when discussing causation in
   the second phase.
          D. “Covered Person” under CERCLA
          Defendants argue that to qualify as a “covered person” under CERCLA, a Defendant must
   own or operate a facility “from which there is a release, or threatened release which causes the
   incurrence of response costs, of a hazardous substance. See Def. Mot. at 6-7 (citing 42 U.S.C. §
   9607(a)(4)) (emphasis in original). Plaintiffs assert that a “covered person” includes any person
   who owned or operated a facility at the time of disposal of any hazardous substance. See Pls. Opp.
   at 8-9. A quick review of the definition of “covered person” in 42 U.S.C. § 9607 reveals the error
   of Defendants’ position. Sections 9607(1)-(2) clearly state that a covered person includes: “(1) the
   owner and operator of a vessel or facility,” as well as “(2) any person who at the time of disposal
   of any hazardous substances owned or operated any facility at which such hazardous substances
   were disposed of.” See 42 U.S.C. § 9607(1)-(2). Defendants language concerning the incurrence



          Nov. 17, 2010) (citing Castaic Lake, 272 F.Supp.2d at 1066).



                                                             18
Case 2:14-cv-06456-GW-E Document 1028 Filed 03/10/22 Page 20 of 20 Page ID #:32880




   of response costs is pulled from 42 U.S.C. § 9607(4), which fully states that a “covered person”
   also includes “any person who accepts or accepted any hazardous substances for transport to
   disposal or treatment facilities, incineration vessels or sites selected by such person, from which
   there is a release, or a threatened release which causes the incurrence of response costs, of a
   hazardous substance.” The requirement of a release or a threatened release only applies for a
   person who “accepts or accepted any hazardous substances for transport,” not a former owner and
   operator of a facility. Compare 42 U.S.C. § 9607(4), with 42 U.S.C. § 9607(2). Furthermore, the
   “disposal” referenced in 42 U.S.C. § 9607(2) has been held to not even require hazardous waste to
   enter the environment, let alone cause the incurrence of response costs. See Voggenthaler v.
   Maryland Square LLC, 724 F.3d 1050, 1064 (9th Cir. 2013) (“Because the phrase ‘enter the
   environment’ is qualified by the word ‘may’ in the definition of ‘disposal,’ the statute cannot be
   interpreted to cover only spills that go directly and immediately into the groundwater.”). The
   Court thus rejects Defendants attempts to add a causation requirement to the definition of a
   “covered person” under CERCLA.
   IV.    Conclusion
          Based on the foregoing discussion, the Court finds that the parties agreed to reserve
   causation for the second phase of this litigation; the Court will adopt the burden-shifting
   framework from Castaic Lake in that second phase; and the definition of “covered person” does
   not have a causation element as to the owner or operator of a facility.




                                                       19
